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                    UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

RYAN, LLC,

                      Plaintiff,

    v.                                    Civil Action No. 3:24-cv-0986-E


FEDERAL TRADE COMMISSION,

                      Defendant.




            AMICUS BRIEF OF U.S. REPRESENTATIVE MATT GAETZ
         IN SUPPORT OF DEFENDANT FEDERAL TRADE COMMISSION




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                          INTEREST OF AMICUS CURIAE

       Amicus curiae is a Member of Congress, sitting on the House Judiciary

Committee. Amicus curiae has a special interest in ensuring that federal administrative

agencies are able to faithfully exercise the authorities Congress delegated to them by

statute without undue judicial interference.

       Amicus curiae believes that the Federal Trade Commission issued a final rule

banning certain noncompete clauses from employment agreements after thorough and

comprehensive review of evidence. Furthermore, amicus believes that the substance of

the final rule is a reasonable exercise of the Federal Trade Commission’s delegated

authority, and that it is the purview of Congress and the President to overturn or amend

it, if they believe it to be bad policy.




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                           SUMMARY OF ARGUMENT

      Economic liberty is the foundation of a free society and the bedrock of American

democracy. The promise that hard work, competitive vigor, and individual effort will be

rewarded with prosperity is one that has flourished in America from the very beginning.

This proposition has not been untested. In 1890, our forebearers in Congress adopted the

Sherman Act in the face of widespread public recognition that uncontrolled economic

individualism had led to private restraints that tolerated neither individualism nor

freedom. And after the Supreme Court in 1911 watered down the Sherman Act’s

prohibition against restraints of trade, Congress adopted the Federal Trade Commission

Act in 1914 with the intent of limiting judicial activism and creating a more efficient

system of enforcement to protect American consumers, workers, and entrepreneurs. The

FTC Act created a commission composed of five members appointed by the President,

subject to the advice and consent of the Senate, and unambiguously vested them with

rulemaking authority.

      The creation of the Federal Trade Commission was a lawful exercise of

Congress’s Article I legislative power. For over a century, Congress’s express delegation

of substantive rulemaking authority to the Commission’s term-appointed members has

enhanced the fairness of the American economy for workers, consumers, and small

businesses. The Federal Trade Commission’s rule banning certain noncompete clauses

has nevertheless revived a debate over the extent of the Commission’s rulemaking

                                           2
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authority – one which Congress has repeatedly settled. Following the United States Court

of Appeals for the District of Columbia Circuit’s decision in National Petroleum –

holding that such rulemaking authority extended to substantive rules – Congress twice

amended the Federal Trade Commission Act. In both instances, Congress expressly

declined to limit the Commission’s relevant statutory rulemaking authority.

      The final rule banning certain noncompete clauses is squarely within the

Commission’s statutory rulemaking authority, first legislated by Congress over a century

ago and repeatedly reaffirmed since. The rule is the result of an extensive economic and

legal inquiry into the harms of noncompete clauses to workers, consumers, and small

businesses. The deliberative process went above and beyond ordinary notice-and-

comment rulemaking requirements, extending the comment period by over a month and

eliciting over 26,000 public comments. These comments were the subject of careful

consideration by the Commission and fully addressed in the final rule. It is the work of

a politically accountable body that Congress created to fulfill this precise purpose, to

provide more efficient enforcement of an intentionally broad prohibition against “unfair

methods of competition.”

      The current challenge to the Commission’s rule banning noncompetes is more

than just an academic inquiry into the Commission’s powers. For over 30 million

impacted American workers, the rule represents the right to seek work and be productive

in one’s chosen profession or trade. The final rule promises to restore the ability of

                                          3
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workers to negotiate for improved working conditions, and to avoid being doubly

harmed by the enforcement of a noncompete clause following termination of

employment for any reason. It represents over $30 billion per year in lost wages, flowing

from the reduced bargaining power of workers who derive leverage from the ability to

take their labor elsewhere.

      “The Federal Trade Commission is a creation of Congress, not a creation of

judges' contemporary notions of what is wise policy.” Nat'l Petroleum Refiners Ass'n v.

F.T.C., 482 F.2d 672, 674 (D.C. Cir. 1973). Congress is the body best situated to oversee

the Commission, and Congress is the appropriate check to rules issued by Executive

branch administrative agencies. Congress intended to – and did – provide the Federal

Trade Commission with authority to prohibit noncompete clauses as an unfair method

of competition, and Amicus calls on this Court to give weight to that intent.




                                           4
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                                           ARGUMENT

      I.      CONGRESS GAVE THE FEDERAL TRADE COMMISSION
              AUTHORITY TO ISSUE SUBSTANTIVE RULES.

           In creating the Federal Trade Commission, Congress designed an efficient and

politically accountable system for protecting and enhancing the fairness of the American

economy. The Federal Trade Commission Act was adopted by Congress in 1914 in the

wake of concern that the nation’s foundational antitrust law, the Sherman Act of 1890,

had been eroded by the Supreme Court’s decision in Standard Oil Co. v. United States,

which held that only “undue” restraints of trade or commerce were prohibited by the

Sherman Act.1 Supporters of strict enforcement against restraints of trade were worried

that Standard Oil would relax rather than increase control over competition.2 But

business groups also had cause for concern. To them, Standard Oil represented the

precarity of their position becoming even more uncertain with the ascendancy of judicial

discretion.3

           Congress, for its part, also saw Standard Oil as an out and out grab by the judiciary

of legislative power. In a 1913 Report to the Senate Committee on Interstate Commerce,

Senator Cummins warned against “substitut[-ing] the court in the place of Congress.”4

The Cummins Report cautioned against testing every potential restraint of trade “by the

1
  Standard Oil Co. of New Jersey v. U.S., 221 U.S. 1, 60 (1911).
2
  Dow Vatow, Antitrust in 1914: The Climate of Opinion, American Bar Association, Section of Antitrust
Law, vol. 24, at p. 14 (1964).
3
  Id., at 15.
4
  Control of Corporations, Persons, and Firms Engaged in Interstate Commerce, S Rep No 1326, 62d Cong,
3d Sess 1, at 10 (1913) (the “Cummins Report”)
                                                   5
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economic standard which the individual members of the court happen to approve.”5 A

year prior to the birth of the Federal Trade Commission, the Cummins Report

recommended “establishing a commission for the better administration of the law and to

aid in its enforcement.”6 And Congress did precisely that.

          With the Federal Trade Commission Act of 1914, Congress created an

administrative body “to carry into effect legislative policies embodied in the statute in

accordance with the legislative standard therein prescribed.”7 And it endowed the

Federal Trade Commission with authority “to make rules and regulations for the purpose

of carrying out the provisions of this Act.”8 It was an unambiguous grant of authority,

adopted by overwhelming majorities of both chambers of Congress, following testimony

that a politically accountable commission under the aegis and constant supervision of

Congress was preferred to the “abstract propositions [] argued in the seclusion of the

courts.”9 In 1973, the United States Court of Appeals for the District of Columbia Circuit

clarified that the Federal Trade Commission’s authority extended to the issuance of

substantive rules, not just procedural ones, holding that the text of Section 6(g) “as clear

as it is unlimited.”10 The National Petroleum case was a challenge by two trade

associations and 34 gasoline refining companies to a rule declaring that failure to post



5
    Id.
6
    Id.
7
  Humphrey’s Executor v. United States, 295 U.S. 602, 648 (1935)
8
  15 USC § 46(g).
9
  Federal Trade Commission, 63d Cong, 3d Sess, in 51 Cong. Rec. 13047 (1914).
10
   Nat'l Petroleum Refiners Ass'n v. F.T.C., 482 F.2d 672, 693 (D.C. Cir. 1973).
                                                     6
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octane rating numbers on gasoline pumps at service stations was an unfair method of

competition and an unfair or deceptive act or practice.11 The D.C. Circuit held that the

Commission had issued its rule “to carry out what the Congress agreed was among its

central purposes: expedited administrative enforcement of the national policy against

monopolies and unfair business practices.”12 The court continued: “Under the

circumstances, since Section 6(g) plainly authorizes rule-making and nothing in the

statute or in its legislative history precludes its use for this purpose, the action of the

Commission must be upheld.” Id.

       In 1975, two years after the D.C. Circuit Court’s ruling in National Petroleum,

Congress amended the FTC Act for the first time since the Wheeler-Lea Amendment of

1938. If Congress disagreed with the court’s holding in National Petroleum, it could

have limited the Commission’s substantive rulemaking authority. Instead, Congress

doubled down, enacting the Magnuson-Moss Warranty-Federal Trade Commission

Improvement Act (“Magnuson-Moss”) to remove any doubt that the FTC has express

authority to issue substantive, industry-wide rules.13 Specifically, Magnuson-Moss

expanded the Commission’s authority to issue rules prohibiting “unfair or deceptive acts

or practices,” subject to heightened procedural requirements, and left intact the

Commission’s authority to issue rules regarding “unfair methods of competition.”14 In


11
   Id., at 674.
12
   Id., at 693.
13
   Magnuson-Moss Warranty Act, Pub. L. No. 93-637, 88 Stat. 2183 (1975).
14
   Id., at Sec. 202(a).
                                                   7
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doing so, Congress expressly rejected a House version of the bill that would have

curtailed the FTC’s rulemaking authority regarding “unfair methods of competition.”15

Instead, in the wake of the District Court’s affirmation of substantive rulemaking

authority in National Petroleum, Congress expressly re-affirmed that the law did “not

affect any authority of the Commission to prescribe rules (including interpretive rules),

and general statements of policy, with respect to unfair methods of competition in or

affecting commerce.”16 The United States Court of Appeals for the Seventh Circuit

concurred, holding that “[i]n enacting Section 202 [of the Magnuson-Moss Act],

Congress intended to preserve the Commission’s existing substantive rulemaking

authority while providing additional procedural safeguards for such rulemaking in the

future only.”17

        Five years after Magnuson-Moss, Congress again reaffirmed the FTC’s

rulemaking authority with respect to “unfair methods of competition” when it adopted

the Federal Trade Commission Improvements Act of 1980. As with Magnuson-Moss,

the 1980 amendments added further procedural requirements to the Commission’s

rulemaking authority over “unfair or deceptive acts or practices,” but again expressly




15
   H.R. Rep. No. 93-1107 (1974); see also Justin Hurwitz, Chevron and the Limits of Administrative Antitrust,
76 U Pitt L Rev 209, 250–52 (2014).
16
   Pub. L. No. 93–637, 88 Stat. 2183 (1975); 15 U.S.C. § 57a.
17
   United States v. JS & A Group, Inc., 716 F.2d 451, 454 (7th Cir. 1983) (citing H.R.Rep. 93–1606, 93rd
Cong., 2d Sess. 31–32; H.R.Rep. 93–1107, at 45–46; U.S. Code Cong. & Admin. News 1974, p. 7702; 120
Cong.Rec. 31738, 41406)

                                                     8
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declined to amend the Commission’s Section 6(g) authority to issue rules regarding

“unfair methods of competition.”18

            The Court should reject the present effort to revive a long-settled debate regarding

the Federal Trade Commission’s authority to issue substantive rules. The Commission’s

Section 6(g) rulemaking power is not an open question, and Congress did not intend for

the issue to be litigated each time the Commission seeks to adopt or enforce a rule.19 And

in fact, it is precisely concern over judicial activism that gave rise to these, and other,

delegations of authority to federal agencies. Repeatedly, when faced with the opportunity

to amend the Federal Trade Commission Act, Congress has upheld, or even expanded

the Commission’s substantive rulemaking authority over unfair methods of competition.


      II.      CONGRESS PROVIDES REGULAR OVERSIGHT OF THE
               FEDERAL TRADE COMMISSION AND HAS AUTHORITY TO
               OVERTURN ITS RULES.

            Congress’ delegation of rulemaking authority to the Federal Trade Commission

does not obviate Congress’s ongoing oversight of, and influence upon, the priorities and

actions of the agency. To the contrary, Congress retains its general legislative power,

which gives it the ability to conduct oversight, modify or repeal regulations, and amend

agencies’ underlying statutory authority. Congress’s direct powers are well known. They



18
     H.R. Rep. No. 96-917, at 1146–47 (1980)
19
     JS & A Grp., Inc.,, at 454 (7th Cir. 1983)


                                                  9
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include Congress’s legislative and appropriations authority, contempt proceedings, and

its Article II authority to advise and consent regarding the nomination and appointment

of judges and “principal” officers – including members of the Federal Trade

Commission. Each of these powers militate against potential abuses of the authority

delegated to administrative agencies by Congress.20

        Congress’s soft powers – including its regular oversight of administrative agencies

– provide other potent mechanisms for influencing administrative action. Derived from

the legislative powers vested in Congress by Article I of the Constitution, the “power of

Congress to conduct investigations is inherent in the legislative process. That power is

broad. It encompasses inquiries concerning the administration of existing laws as well

as proposed or possibly needed statutes.” Watkins v. United States, 354 U.S. 178, 187

(1957). Congress’s power to oversee administrative agencies is reinforced by statute,

and Congress has, over time, strengthened its oversight of the administrative rulemaking

process. The Congressional Review Act of 1996, for instance, requires administrative

agencies to report the issuance of “rules,” defined broadly,21 to Congress and provides

Congress with authority to overturn rules through special procedures, namely a joint

resolution of disapproval.22 That authority is not dormant: the Congressional Review Act

has been employed successfully to overturn 20 administrative rules, 19 of them since



20
   Josh Chafetz, Congress’s Constitution, 160 U. Pa. L. Rev. 715, 725-741 (2012).
21
   5 U.S.C. §551.
22
   5 U.S.C.A. § 801.
                                                    10
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2017.23 An additional joint resolution of disapproval has passed both chambers of

Congress and is awaiting action by the President,24 and an additional six joint resolutions

of disapproval have passed one chamber of Congress and are pending before the other

chamber.25 Since the Federal Trade Commission adopted its final rule prohibiting

noncompete agreements, no such joint resolution of disapproval has been introduced in

either chamber of Congress.

       The breadth of Congress’s oversight of administrative rulemaking extends to the

hundreds of oversight hearings held by Congress and its Committees every year. Beyond

Congress’s direct staff-level engagement with administrative agencies, both chambers

hold televised hearings to engage in periodic review of agency authorities and

appropriations, including interrogation of principal and subordinate officers of

administrative agencies. These proceedings are not without effect and carry with them

the implicit and actual threat of sanctions or future legislation if an agency does not alter

its behavior to be more consistent with Congressional preferences. An empirical study

of Congressional oversight of administrative agency “infractions,” or agency actions that

are potential subjects of oversight hearings, reveals that when Congress holds an

oversight hearing, the likelihood of an infraction reoccurring is reduced by 18.5



23
   The Congressional Review Act (CRA): A Brief Overview, CONGRESSIONAL RESEARCH SERVICE (2023).
24
   H.J. Res. 109, 118th Congress (2023-2024).
25
   S.J. Res. 62, 118th Congress (2023-2024); S.J. Res. 23, 118th Congress (2023-2024); S.J. Res. 58, 118th
Congress (2023-2024); S.J. Res. 61, 118th Congress (2023-2024); H.J. Res. 88, 118th Congress (2023-2024);
S.J. Res. 62, 118th Congress (2023-2024).
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percent.26 Far from an abdication of Congress’s legislative duties, Congress’s routine

oversight of administrative agency rulemaking reduces the recidivism of agencies

operating inconsistently with Congress’s intent, and provides a critical Constitutional

check on presidential administration.

          Although a lack of political will or the presence of genuine disagreement may

sometimes lead to gaps or imperfections in Congressional oversight, there is no question

that Congress is equipped with powerful oversight tools. When Congress feels that an

Executive Branch agency is overstepping its bounds, Congress does act. In the current

Congress, impeachment proceedings have been initiated against officers of the United

States precisely on the grounds of their stubborn noncompliance with congressional

oversight, and a number of Congressional Review Act rules have been introduced.

Conversely, less than a month ago, the Chairwoman of the FTC herself testified before

the House Appropriations Subcommittee on Financial Services and General Government

to reiterate her agency-wide appropriations request. The challenged rule itself was a

subject of discussion at that hearing, and while not technically within the bounds of any

federal abstention doctrine, the pendency of such “merits proceedings” in Congress

should give coequal branches pause before wading in.




26
     Brian Feinstein, Congress in the Administrative State, 95 Wash. U.L. Rev. 1189, 1236 (2018).
                                                       12
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     III.   THE FEDERAL TRADE COMMISSION’S RULE BANNING
            NONCOMPETES HELPS AMERICAN WORKERS, AND
            FOLLOWED A LAWFUL AND COMPREHENSIVE ISSUANCE
            PROCESS

        The Federal Trade Commission’s rule prohibiting most employers from entering

into or enforcing noncompete agreements with certain workers, subject to narrow

exceptions, is a vindication of economic freedom and free enterprise. Rooted in Section

5 of the FTC Act’s prohibition against “unfair methods of competition,” the rule reflects

the ideal that all power concentrations in the United States, whether public or private,

should be limited. Recent studies have found a direct relationship between job market

concentration and wage stagnation.27 Noncompete agreements exacerbate that harm by

further restricting workers from seeking opportunities in their chosen profession or trade

and, in turn, reducing their bargaining power to seek a fair wage and working conditions.

The Commission found noncompete agreements to be “pervasive across industries,”

conservatively estimating that approximately one in five American workers – or

approximately 30 million workers – is subject to a noncompete agreement.28 A large

share of workers subject to noncompete agreements are relatively low-earning workers,

and 53 percent of workers covered by noncompete agreements are hourly workers.29


27
   José Azar & Ioana Marinescu & Marshall Steinbaum & Bledi Taska, Concentration in US labor markets:
Evidence from online vacancy data, Labour Economics, vol 66. (2020); Efraim Benmelech & Nittai K.
Bergman & Hyunseob Kim, Strong Employers and Weak Employees Journal of Human Resources, vol 57(S),
S200-S250 (2022)
28
   Alexander J.S. Colvin & Heidi Shierholz, Noncompete Agreements, Econ. Policy Inst. Rep. (2019)
29
   Michael Lipsitz & Evan Starr, Low-Wage Workers and the Enforceability of Noncompete Agreements, 68
Mgmt. Sci. 143, 144 (2022)
                                                 13
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          The Federal Trade Commission’s final rule is deeply rooted in empirical research

and careful consideration of tens of thousands of public comments. While

comprehensive in its approach to protecting most workers from the harms of noncompete

agreements, it is also tailored in other ways that demonstrate the Commission’s careful

consideration of the evidence. For instance, the final rule would not invalidate existing

noncompete agreements for certain senior executives, which makes sense. These

noncompete agreements are more likely the result of tailored negotiations and less likely

to be exploitative or coercive.30 The final rule also makes exception for noncompete

agreements entered into in the context of a bona fide sale of a business entity, based on

comments that noncompetes between the seller and the buyer of a business might be

necessary to protect the value of the sale by ensuring the effective transfer of the

business’s goodwill.31

          The extensive public comments received by the Federal Trade Commission are

testament to the need for this rule. In the span of just 104 days, the Commission received

more than 26,000 comments on the proposed rule, with the vast majority—over 25,000

comments—in support of the proposed ban on noncompetes. Many of the comments

reveal the disturbing and offensive nature of noncompete agreements. Multiple

commenters describe being restrained by a noncompete clause and being sued for




30
     Federal Trade Commission, Noncompete Clause Rule, 16 CFR Part 910, Section IV.D.2.b.
31
     Id., at V.A.2.
                                                    14
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violation of a noncompete clause after they were fired for declining the Covid vaccine.32

Other commenters were prevented from seeking alternate employment after enduring

sexual assault, harassment, and emotional abuse in the workplace.33 Numerous workers

report being forced to file for unemployment compensation after being terminated from

employment because noncompete clauses remained enforceable– sometimes for years.34

Dozens of workers report having filed for bankruptcy after being barred from alternate

employment, or after facing prolonged litigation for unwitting violation of a noncompete

clause.35 Hundreds of comments were submitted anonymously, likely out of fear that

their employers would retaliate against them if their names became public.

       These stories speak to a broader problem. Just as our forebearers toward the end

of the 19th Century began to recognize that uncontrolled economic individualism had led

to private restraints that tolerated neither individualism nor freedom, Amicus similarly

recognizes that noncompete agreements are often coercive private restraints

masquerading as freedom of contract. Banning these restraints is well within the Federal

Trade Commission’s prerogative, mandated by Congress, to prohibit unfair methods of

competition and issue substantive rules in furtherance of that intent.




32
   Individual commenter, FTC-2023-0007-7561; Individual commenter, FTC-2023-0007-6489; Individual
commenter, FTC-2023-0007-3499
33
   Individual commenter, FTC-2023-0007-0509; Individual commenter, FTC-2023-0007-8852; Individual
commenter, FTC-2023-0007-2996.
34
   Individual commenter, FTC-2023-0007-9563; Individual commented, FTC-2023-0007-12813
35
   Individual commenter, FTC-2023-0007-4541; Individual commenter, FTC-2023-0007-9920
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   IV.   CONCLUSION

      For the foregoing reasons, Amicus Member of Congress Representative Matt

Gaetz respectfully requests that this Court give credence to Congress’ express and

repeated grant of rulemaking authority to the Federal Trade Commission and uphold the

Commission’s final rule banning noncompetes as a valid exercise of that authority.


Dated: June 4, 2024                           Respectfully submitted,



                                              By: /s/ Andrew Kloster
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